Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 1 of 33



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. ____________-CIV-___________/____________


 NAOMI SENGER, an individual,

        Plaintiff,

 vs.

 HV GLOBAL MARKETING CORPORATION,
 a Florida Corporation, a/k/a
 HYATT VACATION OWNERSHIP,

       Defendant.
 _____________________________________/

                                         COMPLAINT

        1.      Plaintiff, NAOMI SENGER (hereinafter referred to as “Plaintiff” and

 “SENGER”), was an employee of Defendant, HV GLOBAL MARKETING CORPORATION, a

 Florida Corporation a/k/a HYATT VACATION OWNERSHIP (hereinafter “Defendant” or “HV

 GLOBAL”), and brings this action against Defendant for alleged sex/gender discrimination,

 disability discrimination, and retaliation in violation of Title VII of the Civil Rights Act, 42

 U.S.C. §2000 et seq., the Americans with Disabilities Act of 1990, 42 U.S.C. §12101 et seq., as

 amended through the ADA Amendments Act of 2008, P.L. 110-325, § 2, 122 Stat. 3553 (the

 “ADAAA”), and the Florida Civil Rights Act (FCRA), Florida Statutes §760.01 et seq.

        2.      At all times material to this action, SENGER has been an individual residing in

 Key West in Monroe County, Florida, within the jurisdiction of this Court.

        3.      HV GLOBAL MARKETING CORPORATION, a Florida Corporation, also

 known as HYATT VACATION OWNERSHIP, has at all times material to this Complaint had a

 corporate office in Miami, Florida and has been engaged in a hotel and resort marketing business



                                                1
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 2 of 33



 with operations throughout the United States including in Key West in Monroe County, Florida,

 within the jurisdiction of this Court.

        4.        Jurisdiction is conferred on this Court by 28 U.S.C. §1332, §1337 and §1367 as

 well as 42 U.S.C. §2000 and 29 U.S.C. §12101.

        5.        Venue is proper in this Court pursuant to 28 U.S.C. §1391, as a substantial part of

 the events giving rise to this action occurred in Monroe County, within the jurisdiction of the

 Key West Division of the United States District Court for the Southern District of Florida.

        6.        At all times material to this action, SENGER was an employee of HV GLOBAL

 within the meaning of Title VII, 42 U.S.C. §2000e(f), the ADAAA, 42 U.S.C. §12111(4), and

 the FCRA, F.S. §760.10(1)(a).

        7.        At all times material to this action, HV GLOBAL was SENGER’s employer

 within the meaning of Title VII, 42 U.S.C. §2000e(b), the ADAAA, 42 U.S.C. §12111(5), and

 the FCRA, F.S. §760.02(7), because Defendant was a business engaged in interstate commerce

 and had Fifteen (15) or more employees in each of Twenty (20) or more calendar weeks in the

 current or preceding year.

        8.        In January 2017, HV GLOBAL hired SENGER as a Sales Executive, a/k/a “Sales

 Account Executive,” at Defendant’s Hyatt Windward Pointe-Key West Sales Office in Key

 West, Florida.

        9.        As part of HV GLOBAL’s hiring of Plaintiff, HV GLOBAL relocated SENGER

 from Orlando, Florida to Key West, Florida.

        10.       Likewise, at the time HV GLOBAL hired Plaintiff, SENGER’s real estate license

 was active and Plaintiff had the ability to use her real estate licensing in the capacity of a Broker

 or Sales Agent, which HV GLOBAL reviewed and accepted prior to hiring SENGER.




                                                   2
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 3 of 33



        11.     Further, at the outset of SENGER’s employment with Defendant in January 2017,

 Plaintiff informed HV GLOBAL’s Director of Sales and Marketing, Scott Jacobson, that

 Plaintiff needed to take approximately two (2) weeks off from work in March 2017 for a medical

 procedure, which Jacobson communicated to Plaintiff in January 2017 would not be problem and

 confirmed at that time to Plaintiff that she would be permitted to take time off for the procedure.

        12.     In mid-March 2017, SENGER notified HV GLOBAL that Plaintiff was

 undergoing medical treatment for Invitro fertilization (IVF) and in following her doctor’s

 medical advice to reduce stress while undergoing medical treatment, Plaintiff requested a

 transfer from HV GLOBAL’s Sales Department to the Marketing Department to the position of

 Marketing Agent.

        13.     At all times material to this action, SENGER was an individual with a chronic

 medical condition, namely, infertility.

        14.     At all times material to this action, SENGER suffered from a “physical

 impairment” within the meaning of the ADAA, see 29 C.F.R. §1630.2(h)(1), as a result of

 SENGER’s infertility which was ongoing between approximately January 2017 and March 2017,

 including but not limited to SENGER’s inability to conceive or bear offspring, which is a

 physiological disorder or condition affecting one or more of SENGER’s major bodily functions

 and body systems, specifically the reproductive system and functions, protected by the ADAA.

        15.     On or around March 15, 2017, SENGER interviewed for the position of

 Marketing Agent in HV GLOBAL’s Marketing Department, but Lisa Waters, Defendant’s

 Human Resource Manager, communicated to Plaintiff that transfers within Ninety (90) days of

 an employee’s date of hire were purportedly “prohibited” by HV GLOBAL’s company policy, as

 a result of which Defendant denied SENGER’s transfer request.




                                                  3
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 4 of 33



        16.     Additionally on or around March 15, 2017, SENGER provided HV GLOBAL

 with written notice from Plaintiff’s doctor, Eric Surrey, M.D. from the Colorado Center for

 Reproductive Medicine, specifying the dates Plaintiff needed time off from work between

 approximately March 22, 2017 and April 11, 2017 for her medical procedure. See Exhibit A: 3-

 15-17 Colorado Center for Reproductive Medicine Doctor’s Note from Eric Surrey, M.D.

        17.     On or around March 16, 2017, HV GLOBAL’s Director of Sales and Marketing,

 Scott Jacobson, communicated to SENGER that “we see you have a medical condition,” as part

 of which Jacobson advised SENGER that Plaintiff had to either: (a) resign from her employment

 with HV GLOBAL; or (b) “re-apply when your medical condition is resolved” because

 Defendant would not accommodate SENGER’s condition in March 2017.

        18.     When SENGER refused to resign from her employment with Defendant, HV

 GLOBAL terminated SENGER’s employment on March 16, 2017 for being what Waters and

 Jacobson called “a medical liability.”

        19.     At all times material to this action, SENGER satisfactorily performed her

 essential job duties as a Sales Account Executive for HV GLOBAL.

        20.     The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

 employment was false and known to be false by Defendant at the time of Plaintiff’s termination

 and instead was discriminatory on the basis of Plaintiff’s sex/gender (female), and/or disability,

 and/or was in retaliation SENGER for having objected to HV GLOBAL’s illegal attempts to

 force Plaintiff to resign while Defendant also denied Plaintiff’s transfer and time off requests.

        21.     All conditions precedent to the institution of the claims in this Complaint have

 either occurred or been waived.




                                                   4
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 5 of 33



                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

        22.     On July 19, 2017, SENGER dual filed a Charge of Discrimination against HV

 GLOBAL with the United States Equal Employment Opportunity Commission (EEOC) and the

 Florida Commission on Human Relations (FCHR) alleging sex/gender discrimination, disability

 discrimination, and retaliation in violation of Title VII of the Civil Rights Act, 42 U.S.C. §2000

 et seq., the Americans with Disabilities Act (ADA) as amended by the ADAA, and the Florida

 Civil Rights Act (FCRA). A copy of SENGER’s EEOC Charge, Charge No. 511-2017-02442,

 is attached hereto as Exhibit B.

        23.     On or around June 25, 2018, the EEOC issued a Notice of Right to Sue to

 SENGER, see Exhibit C, which Notice was received by SENGER on or around July 7, 2018.

        24.     This Complaint is being filed with the Court within Ninety (90) days of

 SENGER’s receipt of the Notice of Right to Sue in connection with Charge No. 511-2017-02442

 and Plaintiff has exhausted all administrative remedies on the Federal and State law claims pled

 in this Complaint.

        25.     As of July 10, 2018, more than One Hundred and Eighty (180) days have passed

 since the filing of SENGER’s Charge of Discrimination and the FCHR did not issue any

 determination concerning SENGER’s Charge. As a result, pursuant to F.S. §760.11(18), which

 provides that in the event that the FCHR fails to conciliate or determine whether there is

 reasonable cause on any complaint under that section within 180 days of the filing of the

 complaint, an aggrieved person may file a civil action “as if the commission determined that

 there was reasonable cause,” SENGER has exhausted all administrative remedies under Florida

 as well as Federal law.




                                                 5
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 6 of 33



        26.    All conditions precedent to the institution of this action under Federal law and

 State law have either occurred or been waived.

                                      COUNT I
           VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
       42 U.S.C. §2000e ET SEQ. - UNLAWFUL SEX/GENDER DISCRIMINATION

        Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations of Paragraphs 1

 through 26 as if fully set forth herein and further states that this is an action against HV

 GLOBAL MARKETING CORPORATION for sex/gender discrimination in violation of Title

 VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq.

        27.     Title VII of the Civil Rights Act of 1964, as amended, provides that it is unlawful

 for an employer to “discharge any individual, or otherwise to discriminate against any individual

 with respect to his compensation, terms, conditions, or privileges of employment, because of

 such individual's … sex ...” 42 U.S.C. §2000e-2(a)(1).

        28.      At all times relevant to this action, HV GLOBAL had fifteen (15) or more

 employees for each working day in each of twenty (20) or more calendar weeks in the current or

 preceding calendar year within the meaning of 42 U.S.C. §2000e(b).

        29.    Between approximately January 2017 and March 2017, SENGER was subjected

 to disparate treatment and discrimination by HV GLOBAL because of her sex/gender, female,

 by, inter alia, HV GLOBAL: (a) denying SENGER a transfer from the position of Sales Account

 Executive to Marketing Agent; (b) denying SENGER time off from work to undergo a medical

 procedure and obtain medical treatment for IVF; (c) forcing SENGER to choose between either

 resigning from Plaintiff’s employment with HV GLOBAL or re-applying at some unknown time

 in the future if/when Plaintiff’s medical condition was somehow “resolved”; and (d) terminating




                                                  6
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 7 of 33



 SENGER’s employment on or around March 16, 2017 because of her sex/gender, female, all in

 violation of 42 U.S.C. §2000e-2(a)(1)-(2).

           30.   HV GLOBAL’s disparate treatment of and discrimination against SENGER was

 so severe and pervasive that it altered, the terms, conditions, and privileges of SENGER’s

 employment with Defendant culminating with the termination of Plaintiff’s employment in

 March 2017.

           31.   A motivating factor behind HV GLOBAL’s termination of SENGER’s

 employment in March 2017 was Plaintiff’s sex/gender, female, in violation of 42 U.S.C. §2000e-

 2(a)(1)-(2).

           32.   The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

 employment was false and known to be false by Defendant at the time of Plaintiff’s termination

 and instead was a pretext for discrimination against SENGER on the basis of Plaintiff’s

 sex/gender, female, in violation of 42 U.S.C. §2000e-2(a)(1)-(2).

           33.   HV GLOBAL’s violations of Title VII were intentional and were done with

 malice and reckless disregard for SENGER’s rights as guaranteed under the laws of the United

 States.

           34.   SENGER has suffered and continues to suffer lost earnings and employment

 benefits, emotional distress, loss of self-esteem and other injuries as a direct result of HV

 GLOBAL’s violations of 42 U.S.C. §2000e-2(a)(1)-(2).

           35.   Pursuant to 42 U.S.C. §2000e-5(k) and §1988(b), SENGER is entitled to recover

 all reasonable attorneys’ fees and costs from HV GLOBAL as a result of Defendant’s violations

 of Title VII.




                                                 7
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 8 of 33



         WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

 GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

 back pay, employment benefits, other compensation including bonuses, compensatory damages,

 equitable relief including but not limited to front pay, punitive damages, injunctive relief,

 interest, attorney’s fees, costs, expert fees and such other and further relief as this Honorable

 Court deems proper.

                                    COUNT II
                    GENDER/SEX DISCRIMINATION IN VIOLATION OF
                          THE FLORIDA CIVIL RIGHTS ACT

         Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations set forth in

 paragraphs 1 through 26 above and further states that this is an action against HV GLOBAL

 MARKETING CORPORATION for gender/sex discrimination in violation of Florida Statutes

 §760.10(1).

         36.     The Florida Civil Rights Act provides that it is an unlawful employment practice

 for an employer “[t]o discharge . . . any individual, or otherwise to discriminate against any

 individual with respect to compensation, terms, conditions, or privileges of employment, because

 of such individual's . . . sex . . .” F.S. §760.10(1)(a).

         37.     At all times material to this action, HV GLOBAL was an employer within the

 meaning of F.S. §760.02(7).

         38.     At all times material to this action, SENGER was an employee of HV GLOBAL

 within the meaning of F.S. §760.10(1)(a).

         39.     At all times material to this action, SENGER has been an aggrieved person within

 the meaning of F.S. §760.02(10).




                                                     8
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 9 of 33



        40.     Between approximately January 2017 and March 2017, SENGER was subjected

 to disparate treatment and discrimination by HV GLOBAL because of her sex/gender, female,

 by, inter alia, HV GLOBAL: (a) denying SENGER a transfer from the position of Sales Account

 Executive to Marketing Agent position; (b) denying SENGER time off from work to undergo a

 medical procedure and obtain medical treatment for IVF; (c) forcing SENGER to choose

 between either resigning from Plaintiff’s employment with HV GLOBAL or re-applying at some

 unknown time in the future if/when Plaintiff’s medical condition was somehow “resolved”; and

 (d) terminating SENGER’s employment on or around March 16, 2017 because of her sex/gender,

 female, in violation of F.S. §760.10(1)(a) & (b).

        41.     HV GLOBAL’s discrimination against, and disparate treatment of, SENGER

 because of Plaintiff’s gender/sex, female, was sufficiently severe and pervasive as to alter the

 terms, conditions and privileges of SENGER’s employment with HV GLOBAL.

        42.     HV GLOBAL’s management knew or should have known of the unlawful

 gender/sex discrimination against SENGER but Defendant failed to take immediate and

 appropriate corrective action to address the unlawful conduct.

        43.     On or around March 16, 2017, HV GLOBAL terminated SENGER’s

 employment, a motivating factor behind which termination was Plaintiff’s gender/sex, female, in

 violation of F.S. §760.10(1)(a) & (b).

        44.     The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

 employment was false and known to be false by Defendant at the time of Plaintiff’s termination

 and instead was a pretext for discrimination against SENGER on the basis of Plaintiff’s

 sex/gender, female, in violation of F.S. §760.10(1)(a) & (b).




                                                     9
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 10 of 33



          45.    HV GLOBAL’s violations of §760.10(1)(a) were intentional and were done with

  malice and reckless disregard for SENGER’s rights as guaranteed under the laws of the State of

  Florida, such that SENGER is entitled to punitive damages against HV GLOBAL pursuant to

  F.S. §760.11(5).

          46.    SENGER has suffered and continues to suffer lost earnings, emotional distress,

  loss of self-esteem, and other damages as a direct result of HV GLOBAL’s violations of F.S.

  §760.10(1).

          47.    Pursuant to F.S. §760.11(5), SENGER is entitled to recover all reasonable

  attorneys’ fees and costs from HV GLOBAL as a result of Defendant’s violations of the

  FCRA.

          WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  back pay, employment benefits, other compensation including bonuses, compensatory damages,

  including, but not limited to, damages for mental anguish, loss of dignity, and any other

  intangible injuries, equitable relief, interest, costs, attorney’s fees, expert fees and such other and

  further relief as this Honorable Court deems proper.


                                      COUNT III
                     DISABILITY DISCRIMINATION IN VIOLATION OF
                        THE AMERICANS WITH DISABILITIES ACT


          Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations of Paragraphs 1

  through 26 as if fully set forth herein and further states that this is an action against HV

  GLOBAL MARKETING CORPORATION for disparate treatment and discrimination in




                                                    10
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 11 of 33



  violation of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101 et seq., as amended

  through the ADA Amendments Act of 2008, P.L. 110-325, § 2, 122 Stat. 3553. (“ADAAA”).

         48.        The Americans with Disabilities, the ADA and ADAAA, 42 U.S.C. §12112(a),

  prohibits discrimination “against a qualified individual on the basis of disability in regard to job

  application procedures, the hiring, advancement, or discharge of employees, employee

  compensation, job training, and other terms, conditions, and privileges of employment.

         49.        At all times material to this action, SENGER suffered from infertility which is a

  chronic and permanent condition that manifested physical systems and/or problems during

  SENGER’s employment with HV GLOBAL between approximately January 2017 and March

  2017, including but not necessarily limited to SENGER’s inability to conceive or bear offspring,

  arising from problems with SENGER’s reproductive system and functions—as a result of which

  SENGER sought medical treatment including but not limited to a medical procedure in March

  2017 and time off between approximately March 22, 2017 and April 11, 2017 as part of IVF.

  See Exhibit A: 3-15-17 Colorado Center for Reproductive Medicine Doctor’s Note from Eric

  Surrey, M.D.

         50.        At all times material to this action, SENGER has suffered from a “physical

  impairment” within the meaning of the ADA and ADAAA, 29 C.F.R. §1630.2(h)(1), as a result

  of SENGER’s infertility and related medical condition, which entail physiological disorders or

  conditions affecting one or more of SENGER’s body systems, including SENGER’s

  reproductive system, and one or more of SENGER’s major bodily functions, including but not

  necessarily limited to the functions of Plaintiff’s reproductive system and inability to conceive or

  bear offspring.




                                                    11
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 12 of 33



         51.       At all times material to this action, SENGER was substantially limited in one or

  more “major life activities” within the meaning of the ADA and ADAAA, 29 C.F.R. §1630.2(i),

  including but not necessarily limited to (a) Plaintiff’s inability to reproduce or bear offspring;

  and (b) the operation of SENGER’s reproductive functions.

         52.       At all times material to this action, SENGER was an individual with a “disability”

  as defined by the ADA and ADAAA, 42 U.S.C. § 12102(1), because Plaintiff (a) suffered mental

  and/or physical impairments that substantially limited one or more major life activities; (b) had a

  record of such impairment(s); and/or (c) was regarded by HV GLOBAL as a person with such

  impairment(s).

         53.       At all times material to this action, SENGER had to endure substantial limitations

  as a result of her infertility and related medical conditions within the meaning of the ADA and

  ADAAA, 29 C.F.R. §1630.2(j), because SENGER’s conditions substantially limited Plaintiff’s

  ability to perform one or more major life activities—including but not necessarily limited to the

  conceive or bear offspring—as compared to most people in the general population.

         54.       At all times material to this action, SENGER has been “disabled” within the

  meaning of the ADA and ADAAA, 42 U.S.C. §12102(1)(A), because SENGER’s chronic

  infertility and medically related conditions are actual physical impairments that substantially

  limit one or more of SENGER’s major life activities.

         55.       In addition, at all times material to this action, SENGER has also been “disabled”

  within the meaning of the ADA and ADAAA, 42 U.S.C. §12102(1)(C), because SENGER was

  regarded by HV GLOBAL as having a physical impairment that substantially limited one or

  more of Plaintiff’s major life activities as a result of SENGER’s infertility and medical

  condition.




                                                   12
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 13 of 33



         56.    At all times material to this action, SENGER was a “qualified individual” as that

  term is defined by the ADA and ADAAA, 42 U.S.C. §12111(8), because Plaintiff was able to

  satisfactorily perform the essential functions of her job for HV GLOBAL between approximately

  January 2017 and March 2017 with or without reasonable accommodation by Defendant.

         57.    At all times material to this action, SENGER was a “qualified individual with a

  disability” within the meaning of the ADA and ADAAA, 29 C.F.R. §1630.2(m) and 42 U.S.C.

  §12111(8), because SENGER possessed the requisite skill and experience to carry out her duties

  for HV GLOBAL in 2017, and SENGER likewise was capable of performing the essential

  functions of her job despite SENGER’s disability, with or without reasonable accommodation(s)

  by HV GLOBAL.

         58.    Further, SENGER was also qualified for her job with HV GLOBAL between

  approximately January 2017 and March 2017 within the meaning of the ADA and ADAAA, 42

  U.S.C. §12111(8) & (9), even in the face of the impact of SENGER’s infertility and medical

  condition because HV GLOBAL could have and should have provided SENGER with

  reasonable accommodation(s).

         59.    However,     HV     GLOBAL        unlawfully    denied    SENGER      reasonable

  accommodations in violation of 42 U.S.C. §12112(a) and (b), including (1) denying SENGER a

  transfer from the position of Sales Account Executive to Marketing Agent; and (2) denying

  SENGER time off from work between approximately March 22, 2017 and April 11, 2017 to

  undergo a medical procedure and obtain medical treatment in connection with Plaintiff’s IVF.

         60.    Similarly, HV GLOBAL also violated 42 U.S.C. §12112(a) and (b) by, inter alia:

  (1) forcing SENGER to choose between either resigning from Plaintiff’s employment with HV

  GLOBAL in March 2017 or re-applying at some unknown time in the future if/when Plaintiff’s




                                                13
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 14 of 33



  medical condition was somehow “resolved”; and (2) terminating SENGER’s employment on or

  around March 16, 2017 because SENGER was purportedly a “medical liability” despite

  SENGER communicating to Defendant’s management that Plaintiff was capable of performing

  her essential job duties and wanting to continue to continue her employment with HV GLOBAL.

         61.       HV GLOBAL knowingly and willfully engaged in conduct prohibited by the

  ADA and ADAAA against SENGER because of Plaintiff’s disability so as to discourage,

  dissuade and/or otherwise dishearten SENGER.

         62.       SENGER’s actual and/or perceived disability was a motivating factor in HV

  GLOBAL’s decision to terminate SENGER’s employment in March 2017, in violation of 42

  U.S.C. §12112.

         63.       The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

  employment was false and known to be false by Defendant at the time of Plaintiff’s termination

  and instead was a pretext for discrimination against SENGER because of an actual and/or

  perceived disability in violation of 42 U.S.C. §12112.

         64.       HV GLOBAL’s violations of the ADA and ADAAA were intentional and were

  done with malice or reckless indifference to SENGER’s rights guaranteed under the laws of the

  United States.

         65.       SENGER has suffered and continues to suffer loss of earnings, emotional distress,

  loss of self-esteem and other injuries as a direct result of HV GLOBAL’s violations of the ADA

  and ADAAA.

         66.       SENGER has retained the undersigned counsel to represent her in this action and

  pursuant to 42 U.S.C. §12205, SENGER is entitled to recover all reasonable attorneys’ fees and

  costs from HV GLOBAL as a result of Defendant’s violations of the ADA.




                                                   14
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 15 of 33



         WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  back pay, employment benefits, other compensation including bonuses, compensatory damages,

  punitive damages, equitable relief including but not limited to reinstatement and/or front pay,

  injunctive relief, interest, attorneys’ fees, costs, expert fees and such other and further relief as

  this Honorable Court deems proper.

                                        COUNT IV
                   VIOLATIONS OF THE FLORIDA CIVIL RIGHTS ACT,
                  F.S. §760.10 - DISCRIMINATION BASED ON HANDICAP

         Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations set forth in

  paragraphs 1 through 26 above and further states that this is an action against HV GLOBAL

  MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for handicap

  discrimination in violation of the Florida Civil Rights Act, F.S. §760.10 et seq.

         67.     Florida Statutes §760.10(1)(a) provides that: “It is unlawful employment practice

  for an employer: To discharge or to fail or refuse to hire any individual, or otherwise to

  discriminate against any individual with respect to compensation, terms, conditions, or privileges

  of employment, because of such individual’s race, color, religion, sex, national origin, age,

  handicap, or marital status.” Id. (emphasis added).

         68.     At all times material to this action, SENGER suffered from a chronic, permanent

  medical condition of the reproductive system commonly known as infertility, which condition

  constitutes an actual or perceived “handicap” within the meaning of the FCRA, as SENGER’s

  condition in chronic, permanent, and manifested physical problems including during SENGER’s

  employment with HV GLOBAL, including but not necessarily limited to SENGER’s inability to




                                                   15
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 16 of 33



  conceive or bear offspring—as a result of which SENGER was scheduled to undergo a medical

  procedure and medical care including but not limited to Invitro Fertilization.

         69.     At all times material to this action, SENGER has been an aggrieved person within

  the meaning of F.S. §760.02(10).

         70.     At all times material to this action, SENGER was a qualified individual with a

  handicap within the meaning of the FCRA because SENGER possessed the requisite skill and

  experience to carry out her duties as a Sales Account Executive for HV GLOBAL and SENGER

  likewise was capable of performing the essential functions of her job despite Plaintiff’s handicap,

  with or without reasonable accommodation(s) by HV GLOBAL.

         71.     Further, Plaintiff was also qualified for her job as a Sales Account Executive for

  HV GLOBAL within the meaning of the FCRA even in the face of the impact of SENGER’s

  handicap because HV GLOBAL could and should have provided SENGER with reasonable

  accommodation(s) in allowing Plaintiff transfer to the Marketing Agent position and/or allow

  Plaintiff take approximately two (2) weeks’ time off SENGER as Plaintiff requested to undergo a

  medical procedure and obtain medical treatment, with Defendant having—at times—provided

  time off as a benefit of employment to other similarly situated employees of HV GLOBAL

  without handicaps.

         72.     However, despite SENGER’s requests in March 2017 to HV GLOBAL to provide

  Plaintiff with reasonable accommodations within the meaning of the FCRA, including but not

  necessarily limited to a transfer from the sales to the marketing position and approximately Two

  (2) weeks off to undergo a medical procedure and care that would have enabled SENGER to

  continue performing the essential functions of her job as a Sales Account Executive or Marketing




                                                  16
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 17 of 33



  Agent, HV GLOBAL unreasonably refused to provide SENGER with reasonable

  accommodations in violation of F.S. §760.10(1)(a)

          73.    Between approximately January 2017 and March 2017, HV GLOBAL subjected

  SENGER to disparate treatment and discrimination which was motivated by and was because of

  SENGER’s handicap, in violation of F.S. §760.10(1)(a).

          74.    HV GLOBAL knowingly and willfully engaged in conduct prohibited by the

  Florida Civil Rights Act against SENGER because of Plaintiff’s handicap so as to discourage,

  dissuade and/or otherwise dishearten SENGER.

          75.    SENGER’s handicap was a motivating factor in HV GLOBAL’s decision to

  terminate Plaintiff’s employment in March 2017, in violation of F.S. §760.10(1)(a).

          76.    The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

  employment was false and known to be false by Defendant at the time of Plaintiff’s termination

  and instead was a pretext for discrimination against SENGER because of her handicap in

  violation of F.S. §760.10(1)(a).

          77.    HV GLOBAL’s violations of F.S. §760.10 were intentional and were done with

  malice and reckless disregard for SENGER’s rights as guaranteed under the laws of the State of

  Florida, such that SENGER is entitled to punitive damages against SENGER pursuant to F.S.

  §760.11(5).

          78.    Pursuant to F.S. §760.11(5), SENGER is entitled to recover all reasonable

  attorneys’ fees and costs from HV GLOBAL as a result of Defendant’s violations of the

  FCRA.

          WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for




                                                 17
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 18 of 33



  back pay, employment benefits, other compensation including bonuses, compensatory damages,

  punitive damages, equitable relief including but not limited to reinstatement and/or front pay,

  injunctive relief, interest, attorneys’ fees, costs, expert fees and such other and further relief as

  this Honorable Court deems proper.

                                  COUNT V
     RETALIATION IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF
                           1964, 42 U.S.C. §2000e-3

         Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations of Paragraphs 1

  through 26 as if fully set forth herein and further states that this is an action against HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  Retaliation in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

  §2000e-3.

         79.     Pursuant to 42 U.S.C. §2000e-3(a), “[i]t shall be an unlawful employment

  practice for an employer to discriminate against any of his employees …. because [the

  employee] has opposed any practice made an unlawful employment practice by this subchapter,

  or because he has made a charge, testified, assisted, or participated in any manner in an

  investigation, proceeding, or hearing under this subchapter.”

         80.     SENGER engaged in protected activity within the meaning of Title VII, 42 U.S.C.

  §2000e-3(a), including in March 2017 when (a) Plaintiff requested accommodations from HV

  GLOBAL including specifically (1) requesting a transfer from the Sales Department to the

  Marketing Agent position; and (2) requesting approximately Two (2) weeks off work to undergo

  a medical procedure and treatment; and (b) Plaintiff objected to HV GLOBAL’s illegal attempts

  to force SENGER to choose between either resigning from her employment with HV GLOBAL

  or re-applying at some unknown time in the future if/when Plaintiff’s medical condition was




                                                   18
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 19 of 33



  somehow “resolved” despite Plaintiff having communicated to Defendant’s management that she

  was capable of performing her essential job duties and wanting to continue to continue her

  employment with HV GLOBAL.

          81.     SENGER reasonably and in good faith believed that HV GLOBAL’s denials of

  Plaintiff’s transfer request and her request to take time off in March 2017 were unlawful

  employment practices in violation of Title VII.

          82.     Similarly, SENGER reasonably and in good faith believed that HV GLOBAL’s

  attempts to force Plaintiff to choose between resigning her employment in March 2017 and

  reapplying at some unknown time in the future were unlawful employment practices in violation

  of Title VII.

          83.     HV GLOBAL subjected SENGER to adverse employment action and retaliation

  because of Plaintiff’s protected activity, including but not limited to, by Defendant terminating

  SENGER’s employment on or around March 16, 2017 because Plaintiff objected to HV

  GLOBAL’s illegal employment practices in violation of 42 U.S.C. §2000e-3(a).

          84.     HV GLOBAL’s termination of SENGER’s employment on March 16, 2017—on

  or around the same day SENGER objected to resigning to her employment at Scott Jacobson’s

  insistence—was unlawful retaliation in violation of 42 U.S.C. §2000e-3(a) because of Plaintiff’s

  good faith objections to HV GLOBAL’s unlawful attempts to prevent SENGER from continuing

  her employment with HV GLOBAL.

          85.     The fact that SENGER engaged in activity protected by Title VII was a

  motivating factor in HV GLOBAL’s termination of Plaintiff’s employment in March 2017, in

  violation of 42 U.S.C. §2000e-3(a).




                                                    19
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 20 of 33



          86.     The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

  employment was false and known to be false by Defendant at the time of Plaintiff’s termination

  and instead was a pretext for unlawful retaliation against SENGER because of her opposition to

  Defendant’s illegal employment practices, in violation of 42 U.S.C. §2000e-3(a).

          87.     HV GLOBAL’s unlawful retaliation against SENGER was intentional and done

  with malice and reckless disregard for SENGER’s rights as guaranteed under Title VII.

          88.     As a direct and proximate result of HV GLOBAL’s unlawful retaliation against

  SENGER, Plaintiff has suffered damages and has been deprived of job-related economic

  benefits, all in amounts to be established at trial, including suffering a loss of earnings, emotional

  distress, loss of self-esteem and other injuries as a direct result of HV GLOBAL’s violations of

  42 U.S.C. §2000e-3(a).

          89.     Pursuant to 42 U.S.C. §2000e-5(k) and §1988(b), SENGER is entitled to recover

  all reasonable attorneys’ fees and costs from HV GLOBAL as a result of Defendant’s unlawful

  retaliation in violation of Title VII.

          WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  back pay, employment benefits, other compensation including bonuses, compensatory damages,

  equitable relief including but not limited to front pay, punitive damages, injunctive relief,

  interest, attorney’s fees, costs, expert fees and such other and further relief as this Honorable

  Court deems proper.

                                 COUNT VI
    RETALIATION IN VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

          Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations of Paragraphs 1

  through 26 as if fully set forth herein and further states that this is an action against HV



                                                   20
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 21 of 33



  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  Retaliation in violation of the Americans with Disabilities Act, 42 U.S.C. §12203, as amended

  through the ADA Amendments Act of 2008, P.L. 110-325, § 2, 122 Stat. 3553.

         90.     The Americans with Disabilities, ADA and ADAAA, 42 U.S.C. §12203(a),

  provides that: “No person shall discriminate against any individual because such individual has

  opposed any act or practice made unlawful by this chapter or because such individual made a

  charge, testified, assisted or participated in any manner in an investigation, proceeding or hearing

  under this chapter.”

         91.     Similarly, the ADA and ADAAA also provide, 42 U.S.C. §12203(b), that it shall

  “be unlawful to coerce, intimidate, threaten, or interfere with any individual in the exercise or

  enjoyment of, or an account of his or her having exercised or enjoyed, or on account of his or her

  having aided or encouraged any other individual in the exercise or enjoyment of, any right

  granted or protected by this chapter.”

         92.     At all times material to this action, SENGER was an individual with a “disability”

  as defined by the ADA and ADAAA, 42 U.S.C. § 12102(1), because Plaintiff (a) suffered mental

  and/or physical impairments that substantially limited one or more major life activities; (b) had a

  record of such impairments; and/or (c) was regarded by HV GLOBAL as a person with such

  impairments.

         93.     SENGER was at all times material to this action a “qualified individual” as that

  term is defined by the ADA and ADAAA, 42 U.S.C. § 12111(8), because Plaintiff was able to

  satisfactorily perform the essential functions of her job for HV GLOBAL with or without

  reasonable accommodation.




                                                  21
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 22 of 33



         94.    SENGER engaged in statutorily protected activity within the meaning of the ADA

  and ADAAA in March 2017 by, inter alia, exercising or attempting to exercise her rights under

  the ADA, including but not limited to, when Plaintiff: (a) requested accommodations,

  specifically a transfer from HV GLOBAL’s Sales Department and approximately two (2) weeks’

  time off from work to undergo a medical procedure and treatment in connection with Plaintiff’s

  disability; and (b) objected and refused to choose between either resigning from Plaintiff’s

  employment or re-applying at some unknown time in the future when Plaintiff’s medical

  condition would somehow be “resolved.”

         95.    SENGER reasonably and in good faith believed that HV GLOBAL’s denials of

  Plaintiff’s transfer request and her request to take time off in March 2017 were unlawful

  employment practices in violation of the ADA and ADAA.

         96.    Similarly, SENGER reasonably and in good faith believed that HV GLOBAL’s

  attempts to force Plaintiff to choose between resigning her employment in March 2017 and

  reapplying at some unknown time in the future if and when her disability somehow got

  “resolved” were unlawful employment practices in violation of the ADA and ADAA.

         97.    HV GLOBAL subjected SENGER to adverse employment action and retaliation

  because of Plaintiff’s protected activity under the ADA and ADAA, including but not limited to,

  by Defendant terminating SENGER’s employment on or around March 16, 2017 because

  Plaintiff objected to HV GLOBAL’s illegal employment practices in violation of 42 U.S.C.

  §12203(a).

         98.    HV GLOBAL’s retaliatory action constitutes violations of the ADA and

  ADAAA, which prohibits employers from discriminating against an individual because she has

  opposed any act or practice made unlawful under the ADA/ADAAA, 42 U.S.C. §12203(a), and




                                                22
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 23 of 33



  also prohibits employers from coercing, intimidating, threatening, or interfering with any

  individual in the exercise or enjoyment of rights under the ADA/ADAAA on account of her

  having exercised or enjoyed or attempted to exercise or enjoy such rights, 42 U.S.C. §12203(b).

          99.     HV GLOBAL’s termination of SENGER’s employment on March 16, 2017—on

  or around the same day SENGER objected to resigning to her employment at Scott Jacobson’s

  insistence—was unlawful retaliation in violation of 42 U.S.C. §12203(a) because of Plaintiff’s

  requests for accommodations for her disability and her good faith objections to HV GLOBAL’s

  unlawful attempts to prevent her from continuing her employment despite her ability to perform

  her essential duties, in violation of 42 U.S.C. §12203(a).

          100.    The fact that SENGER engaged in activity protected by the ADA and ADAA was

  a motivating factor in HV GLOBAL’s termination of Plaintiff’s employment in March 2017, in

  violation of 42 U.S.C. §12203(a).

          101.    The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

  employment was false and known to be false by Defendant at the time of Plaintiff’s termination

  and instead was a pretext for unlawful retaliation against SENGER because of her requests for

  accommodations for her disability and her opposition to Defendant’s illegal employment

  practices, in violation of 42 U.S.C. §12203(a).

          102.    As a direct and proximate result of HV GLOBAL’s unlawful retaliation against

  SENGER, Plaintiff has suffered damages and has been deprived of job-related economic

  benefits, all in amounts to be established at trial.

          103.    HV GLOBAL’s actions have caused, continue to cause, and will cause SENGER

  to suffer damages for emotional distress, mental anguish, loss of enjoyment of life, and other

  non-pecuniary losses.




                                                     23
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 24 of 33



         104.    HV GLOBAL’s actions were undertaken intentionally, willfully, and maliciously

  with respect to, or with malice and/or reckless disregard for, SENGER’s federally protected

  rights under the ADA and ADAA, as a result of which Plaintiff is entitled to punitive damages

  from Defendant.

         105.    Pursuant to 42 U.S.C. §12205, SENGER is entitled to recover all reasonable

  attorneys’ fees and costs from HV GLOBAL as a result of Defendant’s violations of the ADA’s

  anti-retaliation provisions.

         WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  back pay, employment benefits, other compensation including bonuses, compensatory damages,

  punitive damages, equitable relief including but not limited to reinstatement and/or front pay,

  injunctive relief, interest, attorneys’ fees, costs, expert fees and such other and further relief as

  this Honorable Court deems proper.

                              COUNT VII
  RETALIATION IN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT, F.S. §760.10

         Plaintiff, NAOMI SENGER, reasserts and reaffirms the allegations set forth in

  paragraphs 1 through 26 above and further states that this is an action against HV GLOBAL

  MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for Retaliation in

  violation of the Florida Civil Rights Act, F.S. §760.10.

         106.    Pursuant to F.S. §760.10(7), it is “an unlawful employment practice for an

  employer … to discriminate against any person because that person has opposed any practice

  which is an unlawful employment practice under this section, or because that person has made a

  charge, testified, assisted, or participated in any manner in an investigation, proceeding, or

  hearing under this section.”



                                                   24
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 25 of 33



         107.   At all times material to this action, SENGER has been an aggrieved person within

  the meaning of F.S. §760.02(10).

         108.   SENGER engaged in statutorily protected activity within the meaning of the

  Florida Civil Rights Act in March 2017 by, inter alia, exercising or attempting to exercise her

  rights under the ADA, including but not limited to, when Plaintiff: (a) requested

  accommodations, specifically a transfer from HV GLOBAL’s Sales Department and

  approximately two (2) weeks’ time off from work to undergo a medical procedure and treatment

  in connection with Plaintiff’s disability; and (b) objected and refused to choose between the

  mandates of HV GLOBAL’s management that SENGER either resign from her employment or

  re-applying at some unknown time in the future when Plaintiff’s medical condition would

  somehow be “resolved.”

         109.   SENGER reasonably and in good faith believed that HV GLOBAL’s denials of

  Plaintiff’s transfer request and her request to take time off in March 2017 were unlawful

  employment practices in violation of the FCRA.

         110.   Likewise, SENGER reasonably and in good faith believed that HV GLOBAL’s

  attempts to force Plaintiff to choose between resigning her employment in March 2017 and

  reapplying at some unknown time in the future if and when her disability somehow got

  “resolved” were unlawful employment practices in violation of the FCRA.

         111.   HV GLOBAL subjected SENGER to adverse employment action and retaliation

  because of Plaintiff’s protected activity under the FCRA, including but not limited to, by

  Defendant terminating SENGER’s employment on or around March 16, 2017 because Plaintiff

  objected to HV GLOBAL’s illegal employment practices in violation of F.S. §760.10(7).




                                                25
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 26 of 33



         112.    HV GLOBAL’s termination of SENGER’s employment on March 16, 2017—on

  or around the same day SENGER objected to resigning to her employment at Scott Jacobson’s

  insistence—was unlawful retaliation in violation of F.S. §760.10(7) because of Plaintiff’s

  requests for a transfer and time off, and her good faith objections to HV GLOBAL’s disparate

  treatment and discrimination, in violation of F.S. §760.10(7).

         113.    The fact that SENGER engaged in activity protected by the FCRA was a

  motivating factor in HV GLOBAL’s termination of Plaintiff’s employment in March 2017, in

  violation of F.S. §760.10(7).

         114.    The reason proffered by HV GLOBAL in March 2017 for terminating SENGER’s

  employment was false and known to be false by Defendant at the time of Plaintiff’s termination

  and instead was a pretext for unlawful retaliation against SENGER in violation of F.S.

  §760.10(7).

         115.    HV GLOBAL’s unlawful retaliation against SENGER was sufficiently severe and

  pervasive to alter the terms, conditions and privileges of SENGER’s employment with HV

  GLOBAL, culminating with Defendant’s termination of SENGER’s employment on March 16,

  2017, for reasons that were false and pretextual, all in violation of F.S. §760.10(7).

         116.    HV GLOBAL’s violations of §760.10 were intentional and were done with malice

  and reckless disregard for SENGER’s rights as guaranteed under the laws of the State of Florida,

  such that SENGER is entitled to punitive damages against SENGER pursuant to F.S. §760.11(5).

         117.    SENGER has suffered and continues to suffer loss of earnings, emotional distress,

  loss of self-esteem and other injuries as a direct result of HV GLOBAL’s violations of F.S.

  §760.10(7).




                                                   26
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 27 of 33



         118.    Pursuant to F.S. §760.11(5), SENGER is entitled to recover all reasonable

  attorneys’ fees and costs from HV GLOBAL as a result of Defendant’s violations of the FCRA.

         WHEREFORE, Plaintiff, NAOMI SENGER, demands judgment against Defendant, HV

  GLOBAL MARKETING CORPORATION, a/k/a HYATT VACATION OWNERSHIP, for

  back pay, employment benefits, other compensation including bonuses, compensatory damages,

  equitable relief including but not limited to front pay, injunctive relief, interest, attorney’s fees,

  costs, expert fees and such other and further relief as this Honorable Court deems proper.



                                      JURY TRIAL DEMAND

         NAOMI SENGER demands trial by jury on all issues so triable.


  Dated: July 12, 2018                           Respectfully submitted,


                                         By:     s/KEITH M. STERN
                                                 Keith M. Stern, Esquire
                                                 Florida Bar No. 321000
                                                 E-mail: employlaw@keithstern.com
                                                 Hazel Solis Rojas, Esquire
                                                 Florida Bar No. 91663
                                                 E-mail: hsolis@workingforyou.com
                                                 LAW OFFICE OF KEITH M. STERN, P.A.
                                                 One Flagler
                                                 14 NE 1st Avenue, Suite 800
                                                 Miami, Florida 33132
                                                 Telephone: (305) 901-1379
                                                 Facsimile: (561) 288-9031
                                                 Attorneys for Plaintiff




                                                   27
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 28 of 33




                         EXHIBIT A
     Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 29 of 33

                                                          All
  Patient: Naomi L Senger, Female, DOB:                                   (Patient ID: 94790)
Colorado Center for Reproductive Medicine - Lone Tree                                                      March 15, 2017
10290 RidgeGate Circle Lone Tree, CO 80124                                                                 Page 1
(303) 788-8300 Fax: (303) 788-8310                                                                         Work Excuse-ESS

Naomi L Senger
Female DOB:                      94790 Ins: Cigna ID:




March 15, 2017



To Whom It May Concern:

Naomi L Senger is a current patient receiving care at the Colorado Center for Reproductive Medicine. Due to medical reasons, she will
need to be excused from work for a medical procedure beginning 3/22/17 until 4/11/17. If you have any questions regarding this matter,
please contact our office at 303-788-8300.




Sincerely,




Eric Surrey, M.D




  03/15/2017 Letter: Work Excuse-ESS                                                                                       Page 1 / 1
Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 30 of 33




                          EXHIBIT B
.   .      ...Case
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                                                                                                                                           0
                             CHARGE OF DISCRIMINATION                                                                         AGENCY                       CHARGE NUMBER
           Thi• fvnn 1111ftc11d by l h1 Priv1cy Act ol 1974; Sit Priv1cy Act Sl11tmen1 b1for1 comp lelin g thi1 lonn.
                                                                                                                             []] FEPA
                                                                                                                             lf] EEOC
                                                                        Florida Commission on Human Relations                                                              and EEOC
                                                      Slate or local Agency, if any                                                                  I
         NAME(Tnaicatt M:
                                                                                                                     S.S.No.

                         r., Ms., Mrs.}                                                   HOME TELEPHONE {Tnclude Area Code)
         �aom1 Senger
         STREET ADDRES
                        S                                                                                                     DATE OF BIRTH
                                            CITY, STATE AND ZIP CODE
          1075 Duval Stre
                            et, Apt #192
          NAMED S THE EMP                                                                                                             E NM NT
                             LOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPAE NTICESHI P COMMITTEE, STATE OR LOCAL GOV R E
                                                  Key West, Florida 33040
                I
         AGE NCY WHO DISCRIM
                                 INATED AGAINST ME (If mor e than one list below.)
          NAME                                                                                                TELEPHONE (Include Area
                                                                                                                                      Code)

          HV Global Marketing Corporation                                 I
                                                                            NUMBER OF EMPLOYEES, MEMBERS

                                                                                         100+                 727-803-9400
           STREET ADDRESS                                                                                                                                           COUNTY
                                                               CITY, STATE AND ZIP CODE
           140 Fountain Parkway N., Suite 570                             St. Petersburg, Florida 33716                                                             Pinel las
           NAME                                                                                                         TELEPHONE NUMBER (lncb.lde Area Code)

           STREET ADDRESS                                      CITY, STATE AND ZIP CODE                                                                             COUNTY

           CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es))                                                                   DATE DISCRIMINATION TOOK PLACE

                D RACE D COLOR m sex D RELIGION D AGE
                                                                                                                                          EARLIEST(ADEA/EPA)                LATEST(ALL)
                                                                                                                                                                             3/16/2017
                0 RETALIATION □ NATIONAL 0 DISABILITY □ OTHER
                                                                                                                                               D CONTINUING ACTION
                                                                                                                              (Specify)

                                                             ORIGIN
          THE PARTICULARS ARE (1/ additional paper is needed, attach extra sheet(s)):
          I was hired by Respondent In January 2017 as a Sales Account Executive. As part of my hiring, Respondent relocated me
          from Orlando, Florlda to Key West. Throughout my employment with Respondent between January 2017 and March 2017, I
          satisfactory performed my assigned duties. In mid-Marcl1 2017, I notified Respondent that I was undergoing lnvitro
          fertilization (IVF) and in following my doctor's medical advice, I was requesting a transfer from Respondent's Sales
          Department to the Marketing Department. On or around Mr.1rc/1 15, 2017, I interviewed for the position of Marketing Manager
          with Respondent but Lisa Waters, Respondent's Human Resource Manager, communicated to me that transfers within 90
          days of hire were supposedly "prohibited" by the Company's policy.

          On March 15, 2017, I provided Respondent with written notice from my doctor specifying the dates I needed be absent from
          work due to a medical procedure from March 22, 2017 to April 11, 2017. On March 16, 2017, Respondent advised me that I
          either had to resign from my employment or "re-apply when my medical condition was resolved" because the Company would
          not accommodate my condition. When I refused to resign, Lisa Walters and Scott Jacobson, Respondent's Director of
          Sales, terminated my employment for being what they called ·a medical liability:

         I believe Respondent subjected me to discrimination and disparate treatment based upon my sex/gender and disability and
         retaliated against me in violation of Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA), and the Florida
         Civil Rights Act (FCRA).
         I want this charge filed with both the EEOC and the State or local Agency, if                           NOTARY - (When necessary for State and local Requirements)


         "'"''"l
         any. I will advise the agencies if I change my address or telephone number

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         and I will cooper ate fully with them in the processing of my charge in                                                                                       �
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                                                                                                                 I swear or affirm that I have read the above charge a�d tha\jt is
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Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 32 of 33




                          EXHIBIT C
       Case 4:18-cv-10107-JLK Document 1 Entered on FLSD Docket 07/12/2018 Page 33 of 33
EEOC Form 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:     Naomi Senger                                                                  From:    Tampa Field Office
        1075 Duval Street, Apt#192                                                             501 East Polk Street
        Key West, FL 33040                                                                     Room 1000
                                                                                               Tampa, FL 33602


       D                    On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601. 7(a))
EEOC Charge No.                                 EEOC Representative                                                   Telephone No.

                                                Patricia A. King,
511-2017-02442                                  Investigator                                                          (813) 202-7909
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

       D         Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

       D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

       D         Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       (]]       The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

       D         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D         Other (briefly state)


                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission



                                                                                                                      rJUL O 2 2018
 Enclosures(s)                                                                                                              (Date Mailed)
                                                                Evangeline Hawthorne,
                                                                      Director
 cc:
             HV Global Marking Corp.                                                  Keith M. Stern, Esq.
             c/o Joanne B. Lambert. Attorney                                          LAW OFFICE OF KEITH M. STERN, P.A.
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